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                           United States District Court
                             District of Minnesota

Beth Ann Bretoi,                              Court file no. 10-cv-04268 (JRT/JSM)

                     Plaintiff,

v.                                          Notice of Dismissal With Prejudice

American Coradius International, LLC;
Bonnie Zimmerman;
Phil Martino;
Katie Doe;
David Rote;
John Doe; and
Jane Doe,

                     Defendants.


     It is hereby stipulated and agreed to by Plaintiff and her attorney that the

above-entitled action against Defendants shall be and hereby is dismissed with

prejudice, without costs, disbursements, or attorney fees to any party, and that a

judgment of dismissal with prejudice may be entered in the above-entitled action.

                                        The Glover Law Firm, LLC

Date: December 22, 2010_____            s/Randall P. Ryder_________________
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